      Case 1:23-cv-01581-VSB-SN Document 192 Filed 07/02/24 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



THE NIELSEN COMPANY (US), LLC,
                                                         Civil Action No. 23-CV-1581 (VSB)
                              Plaintiff,                 (SN)

       v.
                                                         [PROPOSED] CASE
TVSQUARED LTD.                                           MANAGEMENT PLAN AND
                                                         SCHEDULING ORDER
                              Defendant.




VERNON S. BRODERICK, United States District Judge:

        Pursuant to Rules 16 and 26(f) of the Federal Rules of Civil Procedure, the Court hereby
adopts the following Case Management Plan and Scheduling Order:

1.     All parties [consent ____/ do not consent XXX] to conducting all further proceedings
       before a United States Magistrate Judge, including motions and trial, pursuant to 28
       U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
       consequences. [If all consent, the remainder of the Order need not be completed at this
       time, and the parties should instead complete the AO 85 Notice, Consent, and
       Reference of a Civil Action to a Magistrate Judge, available at
       https://www.nysd.uscourts.gov/forms/consent-proceed-us-magistrate-judge.]

2.     The parties [have XXX/have not         ] engaged in settlement discussions.

3.     This case [is XXX/ is not ___] to be tried to a jury.

4.     No additional parties may be joined after 30 days from the entry of the initial scheduling
       order (March 24, 2023) absent a showing of good cause under Federal Rule of Civil
       Procedure 16.

5.     No additional causes of action or defenses may be asserted after 120 days from the entry
       of the initial scheduling order (March 24, 2023) absent a showing of good cause under
       Federal Rule of Civil Procedure 16.

6.     Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
       be completed no later than April 6, 2023. [Absent exceptional circumstances, within 14
       days of the date of the parties’ conference pursuant to Rule 26(f).]
      Case 1:23-cv-01581-VSB-SN Document 192 Filed 07/02/24 Page 2 of 3




7.    All fact discovery is to be completed no later than February 10, 2025. [A period not to
      exceed 120 days unless the Court finds that the case presents unique complexities or
      other exceptional circumstances.]

8.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
      Procedure and the Local Rules of the Southern District of New York. The following
      interim deadlines may be extended by the parties on consent without application to the
      Court, provided that the parties meet the deadline for completing fact discovery set forth
      in ¶ 7 above.

      a. Initial requests for production of documents shall be served by March 30, 2023.

      b. Interrogatories shall be served by January 10, 2025.

      c. Depositions shall be completed by February 10, 2025.

             i.      Absent an agreement between the parties or an order from the
                     Court, depositions are not to be held until all parties have responded
                     to initial requests for document production.

             ii.     There is no priority for depositions by reason of a party’s status as a
                     plaintiff or a defendant.

             iii.    Absent an agreement between the parties or an order from the Court,
                     nonparty depositions shall follow initial party depositions.

      d. Requests for admissions shall be served no later than January 10, 2025.

9.    All expert discovery, including disclosures, reports, production of underlying documents,
      and depositions shall be completed by June 20, 2025.

10.   All discovery shall be completed no later than June 20, 2025.

11.   The Court will conduct a telephonic post-discovery conference on July 25, 2025 at 2:00
      PM. The dial-in number is 888-363-4749 and the conference code is 2682448.

12.   No later than July 11, 2025, the parties are to
      submit a joint letter updating the Court on the status of the case, including but not limited
      to whether either party intends to file a dispositive motion, what efforts the parties have
      made to settle the action, whether any discovery disputes remain outstanding, and
      whether the parties request referral to a Magistrate Judge for settlement purposes. If
      either party contemplates filing a dispositive motion, the parties should be prepared to
      discuss a briefing schedule at the post-discovery conference.

13.   Unless otherwise ordered by the Court, the joint pretrial order and additional submissions
      required by Rule 6 of the Court’s Individual Rules and Practices shall be due 30 days
      from the close of discovery, or if any dispositive motion is filed, 30 days from the Court’s




                                               -2-
      Case 1:23-cv-01581-VSB-SN Document 192 Filed 07/02/24 Page 3 of 3




       decision on such motion. This case shall be trial ready 60 days from the close of
       discovery or from the Court’s decision on any dispositive motion.

14.    Counsel for the parties propose the following alternative dispute resolution mechanism
       for this case:

       a.      ____ Referral to a Magistrate Judge for settlement discussions.

       b.      ____ Referral to the Southern District’s Mediation Program. [Note that all
               employment discrimination cases and cases brought under the Fair Labor
               Standards Act of 1938, 29 U.S.C. § 201 et seq., are designated for automatic
               referral to the Court’s Alternative Dispute Resolution program of mediation.
               Accordingly, counsel in such cases should select 14(b).]

       c.      _XX_ Retention of a private mediator.

       The use of any alternative dispute resolution mechanism does not stay or modify any
       date in this Order.

15.    The parties have conferred and their present best estimate of the length of trial is 7 days.



SO ORDERED.

Dated: July 2 2024

       New York, New York

                                                             ___________________________

                                                             Vernon S. Broderick
                                                             United States District Judge




                                                -3-
